',,, Case 2:91-Cr-00189-SI\/| Document 271 Filed 04/03/12 Page 1 of 2

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EASTERN DISTRICT or louISIANA F, - g L¢uisiana
UN.I_TED srATEs oF AMERICA, LED APR - 3 2012
REsPoNnENT, h _
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v. _ cAsE No. 91-18'9 H(g) Glork HYTE

JAMAL ABU SAMAK,
PETITIONER,
PETITIONER'B_R§_Q§E§_T_FGR PRocESSING 0F THE APPEAJ.

Now comes the petitioner, Jamal Abu Samak, pro-se, in the
above styled cause, and request this honorable court to process
the appeal of the present case. The petitioner states the follow-
ing to wit in support:

The petitioner, having filed a request for a certificate
of appealability (CCA)fin this court in reference to the court's
denial of his motion filed pursuant to Rule 60(b)(6) of the Federal
Rules of Civil Procedure, with this court having denied the COA
request.on an unknown date, now request this honorable court to
process the appeal of the present case. This court has failed
to process the appeal in more than thirty (30) days after denial
of the COA request.

Wherefore, the petitioner request this honorable court to
process the appeal of the present case.

Respectfully Submitted,

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Reg. No. 21826-034

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